           Case 3:22-cv-01883-VC Document 100 Filed 08/24/23 Page 1 of 4




August 24, 2023

Hon. Vince Chhabria
United States District Court
Courtroom 4 – 17th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:        Young et al. v. ByteDance Inc. et al., Case No. 3:22-cv-01883-VC

Dear Judge Chhabria:
      I.    ARGUMENT
      A. ๠is Court Should Apply the Test Set Forth in Dylag v. West Las Vegas Surgery Center
         and Deny the Motion to Compel Arbitration.
        Dylag v. West Las Vegas Surgery Center, LLC, ൧ൡ൩ Fed. Appx. ൥൦൨ (൩th Cir. ൢൠൡ൧) cites to
and follows United States Supreme Court, Ninth Circuit and Supreme Court of Nevada precedent in
analyzing the doctrine of equitable estoppel under Nevada law. This Court should apply this law
and deny Defendant’s motion to compel arbitration. Dylag applied this precedent when noting that
that the plaintiff’s co-employer and the plaintiff in Dylag did not share a contractual relationship,
and that generally, “the contractual right to compel arbitration may not be invoked by one who is
not a party to the agreement and does not otherwise possess the right to compel arbitration.” Dylag,
supra, at ൥൧ൠ, (citing to Kramer v. Toyota Motor Corp. ൧ൠ൥ F.ൣd ൡൡൢൢ, ൡൡൢ൦ (൩th Cir. ൢൠൡൣ)). Dylag
further recognized that in accordance with Arthur Andersen, LLP v. Carlisle, ൥൥൦ U.S. ൦ൢ൤, ൡൢ൩ S.Ct.
ൡ൨൩൦, ൡ൧ൣ L.Ed.ൢd ൨ൣൢ (ൢൠൠ൩), “courts must apply state law in determining the applicability of these
principles [of equitable estoppel].) Id.; see also Kramer ൧ൠ൥ F.ൣd at ൡൡൢ൨. Finally, the Ninth Circuit
in Dylag held that in accordance with the Supreme Court of Nevada’s decision in Truck Ins. Exch. v.
Palmer J. Swanson, Inc., ൡൢ൤ Nev. ൦ൢ൩, ൡ൨൩ P.ൣd ൦൥൦, ൦൦ൠ (ൢൠൠ൨)1, “Nevada recognizes equitable
estoppel’s application in the arbitration context.” Id. In Dylag, the Ninth Circuit found that the non-
signatory, joint employer defendant could not compel the arbitration of the plaintiff’s claims
because the plaintiff’s claims did not rely on the underlying employee contract and the plaintiff did

1 In Truck Ins. Exch. v. Palmer J. Swanson, Inc., ൡൢ൤ Nev. ൦ൢ൩, ൡ൨൩ P.ൣd ൦൥൦, ൦൥൨ (ൢൠൠ൨), Farmers
Insurance (“Farmers”) signed a contract containing an arbitration provision for legal services with a
California law firm. Farmers asked the California firm to perform the exact same legal services in
the State of Nevada, to which the California law firm agreed and opened up an office in Nevada just
for this reason. Id. The Nevada firm and Farmers entered into an oral contract for services. Id. A fee
dispute arose, and Farmers attempted to compel arbitration of the Nevada firm based on the contract
with the California firm. Id. The Supreme Court of Nevada held that because the Nevada firm was
not receiving a direct benefit from the written agreement to arbitrate between the California firm
and Farmers and because it did not attempt to assert any rights under the written arbitration
agreement between the California firm and Farmers, that the Nevada firm was not a signatory to the
agreement to arbitrate and did not receive a direct benefit under the contract, so equitable estoppel
did not apply to bind the Nevada firm to arbitration. Id. at ൦൦ൡ-൦ൢ.
            Case 3:22-cv-01883-VC Document 100 Filed 08/24/23 Page 2 of 4

August 24, 2023
Page 2

not allege that the joint employer engaged in “substantially interdependent and concerted
misconduct.” Id. at ൥൧ൡ.
        The analytical framework for determining whether equitable estoppel applies here derives
from Hard Rock Hotel, Inc. v. Eighth Judicial Dist. Court of State in & for Cty. of Clark, Nev., ൣ൩ൠ
P.ൣd ൡ൦൦ (ൢൠൡ൧). In Hard Rock Hotel, the Supreme Court of Nevada derived the test it used and the
one used in Dylag from the analytical framework used in the Fourth Circuit, which in turn had
originated in the Eleventh Circuit. Hard Rock Hotel, supra, at ൡ-ൢ. All Circuits in the United States
use a substantially similar framework in determining whether the doctrine of equitable estoppel
applies, and all arrive at similar outcomes for cases with similar factual issues, such as those in this
case.
       B.       If ๠is Court Applies Dylag, ๠en the Court Should Find Not Compel
                Arbitraiton.
        If this Court applies Dylag, then the Court should find that ByteDance, Inc. and TikTok, Inc.
(“Defendants”), cannot compel the arbitration of Ashley Velez’s (“Plaintiff”) claims. In Dylag, the
plaintiff filed a lawsuit against his former joint employers, West Las Vegas Surgery Center
(“Surgery Center”) and Teamworks Professional Services, Inc. (“Teamworks”), as well as two
Surgery Center shareholders (collectively “Surgery Defendants”) for employment discrimination
claims. Dylag, supra, at ൥൧ൠ. The plaintiff and Surgery Center had entered into an employment
contract with an arbitration provision that encompassed the plaintiff’s discrimination claims, and
the district court found that the plaintiff must arbitrate his claims against Surgery Center. Id. In
contrast, the Ninth Circuit held that, “…while it is undisputed that Teamworks was Dylag’s co-
employer, the two did not share a contractual relationship. ‘Generally, the contractual right to
compel arbitration may not be invoked by one who is not a party to the agreement and does not
otherwise possess the right to compel arbitration.’ Kramer v. Toyota Motor Corp., ൧ൠ൥ F.ൣd ൡൡൢൢ,
ൡൡൢ൦ (൩th Cir. ൢൠൡൣ).” Id. Citing to Truck Ins. Exch. v. Palmer J. Swanson, Inc., ൡൢ൤ Nev. ൦ൢ൩, ൡ൨൩
P.ൣd ൦൥൦, ൦൦ൠ (ൢൠൠ൨), the Ninth Circuit recognized that Nevada permits equitable estoppel in the
arbitration context. Id. at ൥൧ൡ. The Ninth Circuit applied this framework from Hard Rock Hotel,, ൣ൩ൠ
P.ൣd ൡ൦൦, at ൡ n.൤, ൢ (ൢൠൡ൧):
       (ൡ) equitable estoppel applies when the signatory to a written agreement containing an
       arbitration clause must ‘rely on the terms of the written agreement in asserting its
       claims against the non-signatory’ (when each of a signatory’s claims against a non-
       signatory ‘makes reference to’ or ‘presumes the existence of’ the written agreement,
       the signatory’s claims ‘arise out of and are related directly to the written agreement,’
       and arbitration is appropriate; (ൢ) ‘application of equitable estoppel is warranted when
       the signatory to the contract containing the arbitration clause raises allegations of
       substantially interdependent and concerted misconduct by both the non-signatory and
       one or more of the signatories to the contract2.’ Dylag, supra, at ൥൧ൡ.


2 The Ninth Circuit in Dylag explained that “[L]ike most jurisdictions that apply this framework,
Nevada would require that allegations of ‘substantially interdependent and concerted misconduct’
be ‘founded in or intimately connected with the obligations of the underlying agreement.’ See
Kramer, 705 F.3d at 1128-29; Rajagoplan v. Noteworld, LLC, 718 F.3d 844, 847 (9th Cir. 2013)
(Where other circuits have granted motions to compel arbitration on behalf of non-signatory
defendants against signatory plaintiffs, it was essential in all of these cases that the subject matter of
          Case 3:22-cv-01883-VC Document 100 Filed 08/24/23 Page 3 of 4

August 24, 2023
Page 3

    In Dylag, the Ninth Circuit found that the plaintiff’s discrimination claims against the Surgery
Defendants relied on federal anti-discrimination statutes – not his employment contract containing
the arbitration provision. Dylag, supra, at ൥൧ൡ.3 The Ninth Circuit further explained that the plaintiff
in Dylag did not allege that Surgery Center and Teamworks engaged in “substantially
interdependent and concerted misconduct” because he did not allege that Teamworks participated in
the decisions or discriminated against him, and even if they did, that “such allegations would not be
founded in or intertwined with the obligations in Dylag’s employment contract with WLVSC.” Id.
     Just as the Ninth Circuit found in Dylag that the non-signatory defendant could not compel the
arbitration of the plaintiff’s claims against them because the plaintiff’s claims did not rely on the
underlying contract itself and the plaintiff did not allege that his joint employers engaged in
“substantially interdependent and concerted misconduct,” here, the Court should find that
Defendants cannot compel the arbitration of Plaintiff under the guise of equitable estoppel for the
same reasons as in Dylag. Plaintiff’s claims do not rely on the contract between her and her former
employer, Telus. Plaintiff’s claims against Defendants are based on Defendant’s alleged control of
the conditions of her employment and negligence in exercising that control. Such allegations have
nothing to do with the underlying contract between Plaintiff and her former employer Telus, and the
Defendants have not argued that Plaintiff’s claims against them rely on the contract in any of their
filings to date4. Further, Plaintiff has not alleged that the Defendants and her former employer
engaged in “substantially interdependent and concerted misconduct” in her claims against
Defendants (and not her former employer), and even if she did, such allegations would still not be
founded in or intertwined with the obligations in Plaintiff’s employment contract with her former
employer, Telus. See Dylag, supra, at ൥൧ൡ (“Dylag has not alleged that WLVSC and Teamworks
engaged in ‘substantially interdependent and concerted misconduct’… And even if made, such
allegations would not be founded in or intertwined with the obligations in Dylag’s employment
contract with WLVSC.”)
   II.     CONCLUSION
This Court should apply the test set forth in Dylag, and find that under Nevada’s doctrine of
equitable estoppel, that Defendants, nonsignatories to the agreement between Plaintiff and her
former employer, cannot compel the forced arbitration of her claims against them.




the dispute was intertwined with the contract providing for arbitration.)”
3 See Kramer, 705 F.3d at 1130-31 (holding that claims under consumer-protection and unfair
competition statutes did not rely on and were not ‘intimately founded in’ the underlying contract;
Rajagopalan, 718 F.3d at 847 (holding that the plaintiff was not equitably estopped from avoiding
arbitration because his “statutory claims…[were] separate from the contract itself.”)
4 See Clem v. Lomeli, 566 F.3d 1177, 1182 (holding that because a party failed to address an issue
and argument in their answering brief, that they have waived the argument).
        Case 3:22-cv-01883-VC Document 100 Filed 08/24/23 Page 4 of 4

August 24, 2023
Page 4

Dated: August 24, 2023      Respectfully Submitted,
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